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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


CHARIN DAVENPORT

            Plaintiff,                      Case No. 2:16-cv-11289
v
                                            Hon. Sean F. Cox

SAGINAW VALLEY STATE                        Mag. Judge David R. Grand
UNIVERSITY; and ANN COBURN-
COLLINS, in her individual and
official capacity,

          Defendants.
________________________________________________________________/

Jennifer B. Salvatore (P66640)           Jamie Hecht Nisidis (P48969)
Sarah S. Prescott (P70510)               Braun Kendrick Finkbeiner PLC
SALVATORE PRESCOTT                       Attorney for Defendant
& PORTER, PLLC                           4301 Fashion Square Boulevard
Attorneys for Plaintiff                  Saginaw, MI 48603
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(248) 679-8711
salvatore@spplawyers.com
prescott@spplawyers.com

__________________________________________________________________/

        STIPULATED ORDER ALLOWING PLAINTIFF TO FILE
                 FIRST AMENDED COMPLAINT

      The parties stipulate to permit Plaintiff to file an amended complaint adding

a claim of retaliation under the Elliott-Larsen Civil Rights Act, MCL § 37.210 et
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seq.     A copy of the proposed First Amended Complaint is attached to this

stipulated order (attached as Exhibit A). Furthermore, the Court orders as follows:

        IT IS ORDERED that Plaintiff is granted leave to file an amended complaint

adding a claim of retaliation under the Elliott-Larsen Civil Rights Act.

        IT IS FURTHER ORDERED that the First Amended Complaint be filed

within 7 days of the date of this Order.




Dated: January 10, 2017                    s/ Sean F. Cox
                                           United States District Court Judge




Respectfully submitted,


/s/ Jennifer B. Salvatore                      /s/ Jamie Hecht Nisidis
Jennifer B. Salvatore (P66640)                 Jamie Hecht Nisidis (P48969)
Sarah S. Prescott (P70510)                     Braun Kendrick Finkbeiner PLC
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Dated: December 22, 2016




                 EXHIBIT A




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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


CHARIN DAVENPORT

            Plaintiff,                      Case No. 2:16-cv-11289
v
                                            Hon. Sean F. Cox

SAGINAW VALLEY STATE                       Mag. Judge David R. Grand
UNIVERSITY; and ANN COBURN-
COLLINS, in her individual and official capacity,

          Defendants.
________________________________________________________________/

Jennifer B. Salvatore (P66640)          Jamie Hecht Nisidis (P48969)
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________________________________________________________________/

          FIRST AMENDED COMPLAINT AND JURY DEMAND

      NOW COMES Plaintiff, CHARIN DAVENPORT, by and through her

attorneys, SALVATORE PRESCOTT & PORTER, PLLC, and hereby complains

of Defendants SAGINAW VALLEY STATE UNIVERSITY and ANN COBURN-

COLLINS, as follows:                            
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                          NATURE OF THE ACTION

      This is an action for sex discrimination and retaliation under Title VII of the

Civil Rights Act of 1964, Title IX of the Education Amendments of 1972, the

Elliott-Larsen Civil Rights Act MCL § 37.210 et seq., and the United States

Constitution. As alleged with greater particularity below, Defendants removed

Charin Davenport, a transgender woman, from her administrative job at Saginaw

Valley State University after she disclosed to Defendants that she was transgender

and began to present as a woman. Prior to presenting as a woman, Davenport had

worked at the University since 2007 and had lived for 50+ years as Charles

Davenport, a male. Defendants’ removal of Davenport from her administrative

duties after she began presenting as a woman amounted to discrimination because

of Davenport’s sex.     Furthermore, Defendants did not offer Ms. Davenport

available administrative positions for which she was qualified and which she had

previously performed in retaliation for filing a charge of discrimination with the

EEOC against Defendants.

                       PARTIES AND JURISDICTION

      1.    Plaintiff Charin Davenport (“Ms. Davenport” or “Plaintiff”) is a

resident of Hazel Park, Michigan. She is a transgender woman who was an adjunct

faculty member in the English Department at Saginaw Valley State University.




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Until she began presenting as a woman and was subsequently terminated,

Davenport also worked in a part-time administrative role for the University.

      2.      Defendant Saginaw Valley State University (“SVSU” or “the

University”) is a state university located in Saginaw, Michigan.

      3.      Defendant Ann Coburn-Collins is the Director of Academic Programs

Support at Saginaw Valley State University and was at all relevant times Plaintiff’s

supervisor.

      4.      Claims in this action include violations of Title VII of the Civil Rights

Act of 1964; Title IX of the Education Amendments of 1972; the Elliott-Larsen

Civil Rights Act MCL § 37.210 et seq.; and violations of the Equal Protection

Clause of the United States Constitution.

      5.      This Court has jurisdiction over federal claims pursuant to 28 U.S.C. §

1331 and supplemental jurisdiction over Plaintiff’s state law claims under 28

U.S.C. § 1367(a)

      6.      At all relevant times, Saginaw Valley State University has

continuously been doing business in the state of Michigan in the city of Saginaw

and has continuously had at least fifteen employees.

      7.      Davenport filed a charge with the EEOC in 2014 and received a right

to sue letter in February of 2016.




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                            STATEMENT OF FACTS

      8.     Charin Davenport was employed by SVSU beginning in August 2007.

She worked as an adjunct professor in the English Department. From August 2011

until July 2012 she also held an administrative position as Coordinator of

Academic Tutoring Services. In this administrative position, Davenport reported

to Ann Coburn-Collins, Director of Academic Programs Support.

      9.     In July 2012, Davenport was appointed Assistant to the Director of

Academic Programs Support, where she continued to report to Coburn-Collins.

      10.    Until March of 2014, Davenport presented as a male—consistent with

her biological sex. She was known at SVSU as Charles Davenport.

      11.    Davenport at all times adequately performed the duties of her

administrative positions.    As Coordinator of Academic Tutoring Services,

Davenport’s responsibilities included coordinating tutoring for students, recruiting

and training tutors, offering ongoing support to tutors, and matching students with

appropriate tutors.

      12.    As Assistant to the Director of Academic Programs Support,

Davenport was responsible for writing the department’s newsletters and handbooks

and supporting the Director of Academic Programs Support as needed.

      13.    At all times while she presented as a male, Davenport received

positive reviews from her supervisor, Ms. Coburn-Collins, including in the review


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immediately preceding her transition to female and subsequent termination. For

example, in Davenport’s last review, dated May 6, 2013, Ms. Coburn-Collins

wrote, “I want to thank you for your dedication to this office and to our mission.

You are a valuable colleague who does everything I ask you to do. You seldom

say ‘no’ and that has helped ease some of the pressure as I have morphed into my

new roles.”

      14.     Five months after that review, on or about October 2013 Davenport

informed Defendant SVSU and her supervisor Ann Coburn-Collins that she was

undergoing a gender transition from male to female and intended to dress as a

woman from then on.          She asked her colleagues for their support and

understanding.

      15.     Davenport’s supervisor, Coburn-Collins, responded to the news of

Davenport’s transition by stating “It’s my fault. I should have given you that full-

time job so you wouldn’t have had so much free time.”

      16.     Prior to Davenport’s transition, Davenport and Ms. Coburn-Collins

were close colleagues. Coburn-Collins had assisted Davenport in initially securing

her first position at SVSU as an adjunct faculty member and Davenport often

house-sat for Coburn-Collins when she would travel.




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      17.    Following Davenport’s disclosure to Coburn-Collins that she was a

transgender woman, Coburn-Collins stopped talking to her or even acknowledging

her in public places.

      18.    Two months after Davenport began her transition, on or about

December 2, 2013, Coburn-Collins notified Davenport that the administration was

eliminating Davenport’s position, allegedly for budgetary reasons.

      19.    A few months later, when Davenport went to Coburn-Collins’ office

in an attempt to talk to her about her termination and Coburn-Collins’ treatment of

Davenport since her transition, Coburn-Collins told Davenport that: “You’re a liar;

you lied to me; to your family; to your friends; to this university; and to everyone

you know. Your entire life is just one big lie.” Coburn-Collins yelled at Davenport

that: “You disgust me! I can’t even stand to look at you! This is not about your so-

called ‘gender identity.’ This is about you being a liar.” Coburn-Collins threw an

object at Davenport as she yelled at her.

      20.    Based on this conversation, it was clear to Davenport why her

administrative position had been eliminated.

                                     COUNT I
                        TITLE VII – SEX DISCRIMINATION
                                  (against SVSU)

      21.    Plaintiff hereby realleges and incorporates by reference paragraphs 1-

20 above.


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      22.      Defendant SVSU engaged in unlawful employment practices in

violation of Section 703(a)(1) of Title VII, 42 U.S.C. §2000e-2(a)(1), by

terminating Ms. Davenport from her administrative position because of her sex.

      23.      Defendant Employer’s decision to remove Ms. Davenport from her

administrative position was motivated by sex-based considerations. Specifically,

Defendant Employer removed Davenport because Davenport is transgender,

because of Davenport’s transition from male to female, and/or because Davenport

did not conform to the Defendant Employer’s sex- or gender-based preferences,

expectations, or stereotypes.

      24.      The effect of the Defendant’s conduct has been to deprive Ms.

Davenport of equal employment opportunities and otherwise adversely affect her

status as an employee because of her sex.

      25.      The unlawful employment practices complained of above were

intentional.

      26.      The unlawful employment practices complained of above were done

with malice or with reckless indifference to the federally protected rights of Ms.

Davenport.

      27.      As a result of Defendant’s conduct, Ms. Davenport was harmed and

continues to be harmed, in that she has suffered economic loss, damage to her

personal and professional reputation, and emotional distress.


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                                 COUNT II
                     TITLE IX – SEX DISCRIMINATION
                               (against SVSU)

      28.    Plaintiff hereby realleges and incorporates by reference paragraphs 1-

27 above.

      29.    Defendant is an educational institution that receives federal financial

assistance and is subject to the dictates of Title IX of the Education Amendments

of 1972, 20 U.S.C. §1681, et seq.

      30.    Defendant SVSU engaged in discrimination in violation of 20 U.S.C.

§ 1681 by terminating Ms. Davenport from her administrative position because of

her sex.

      31.    Defendant Employer’s decision to eliminate Ms. Davenport’s

administrative position was motivated by sex-based considerations. Specifically,

Defendant Employer eliminated Davenport’s job because Davenport is

transgender, because of Davenport’s transition from male to female, and/or

because Davenport did not conform to the Defendant Employer’s sex- or gender-

based preferences, expectations, or stereotypes.

      32.    The effect of the Defendant’s conduct has been to deprive Ms.

Davenport of equal employment opportunities and otherwise adversely affect her

status as an employee at a public university because of her sex.




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      33.      The unlawful employment practices complained of above were

intentional.

      34.      The unlawful employment practices complained of above were done

with malice or with reckless indifference to the federally protected rights of Ms.

Davenport.

      35.      As a result of Defendant’s conduct, Ms. Davenport was harmed and

continues to be harmed, in that she has suffered economic loss, damage to her

personal and professional reputation, and emotional distress.

                                    COUNT III
                    42 U.S.C. § 1983 – EQUAL PROTECTION
                              (against Coburn-Collins)

      36.      Plaintiff hereby realleges and incorporates by reference paragraphs 1-

35 above.

      37.      Coburn-Collins violated the Equal Protection Clause of the United

States Constitution by terminating Ms. Davenport from her administrative position

because of her sex.

      38.      Specifically, Defendant eliminated Davenport’s position because

Davenport is transgender, because of Davenport’s transition from male to female,

and/or because Davenport did not conform to the Defendant’s sex- or gender-based

preferences, expectations, or stereotypes.

      39.      Defendant’s conduct has harmed Ms. Davenport.


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      40.    The conduct complained of above was intentional.

      41.    The conduct complained of above was done with malice or with

reckless indifference to the federally protected rights of Ms. Davenport.

      42.    At the time of the conduct complained of, Davenport’s right to be free

from sex discrimination was a clearly established constitutional right of which a

person in Defendant’s position should have known.

      43.    As a result of Defendant’s conduct, Ms. Davenport was harmed and

continues to be harmed, in that she has suffered economic loss, damage to her

personal and professional reputation, and emotional distress.

                           COUNT IV
        ELLIOTT-LARSEN CIVIL RIGHTS ACT - RETALIATION
                     (against all Defendants)

      44.    Plaintiff hereby realleges and incorporates by reference paragraphs 1-

43 above.

     45.     After Ms. Davenport filed a charge with the EEOC, three test

administrator positions became open—positions that Ms. Davenport was qualified

for and had previously performed.

      46.    Although Ann Coburn-Collins had always advocated for Ms.

Davenport in the past and sought out and provided any available employment

opportunities for her, Defendants did not offer Ms. Davenport any of the available

test administrator positions after she filed her EEOC charge.


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       47.   According to Deb Rickert, Ms. Coburn-Collins' assistant, the test

administrator positons were not offered to Ms. Davenport because of the fact that

Ms. Davenport had filed an EEOC charge accusing Ms. Coburn-Collins and SVSU

of discrimination.

       48.   As a result of not receiving the test administrator positions, Ms.

Davenport was harmed and continues to be harmed, in that she has suffered

economic loss, damage to her personal and professional reputation, and emotional

distress.

                            PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court reinstate

Plaintiff to her position and award Plaintiff damages in an amount to be determined

at trial for emotional distress, lost wages and benefits, front pay, together with

costs, interest, attorney’s fees, punitive damages, and any other relief that this

Honorable Court deems just and proper.

                                              Respectfully submitted,
                                              SALVATORE PRESCOTT
                                              & PORTER, PLLC

Dated:       December ___, 2016
                                              Jennifer B. Salvatore (P66640)
                                              Sarah S. Prescott (P70510)
                                              Attorneys for Plaintiff
                                              105 East Main Street
                                              Northville, MI 48167
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                          DEMAND FOR JURY TRIAL

      NOW COMES Plaintiff, CHARIN DAVENPORT, by and through her

attorneys, SALVATORE PRESCOTT & PORTER, PLLC, and hereby demands a

jury trial in the above-captioned matter.


Dated:       December ___, 2016
                                                 Jennifer B. Salvatore (P66640)
                                                 Sarah S. Prescott (P70510)
                                                 Attorneys for Plaintiff
                                                 105 East Main Street
                                                 Northville, MI 48167
                                                 (248) 679-8711
                                                 salvatore@spplawyers.com
                                                 prescott@spplawyers.com




                          CERTIFICATE OF SERVICE

      I hereby certify that on December ___, 2016, I electronically filed the

foregoing document with the Clerk of the Court using the ECF system which will

send notification of such filing to counsel of record.



Dated: December ____, 2016
                                            Kelly Murawski, Legal Secretary


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